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UNITED STATES DISTRICT COURT
soUTHERN DISTRICT oF CALIFORNIA

United States of America JUDGMENT IN A CRIMINAL CASE
V_ (For Offenses Committed On or ARer November l, 1987)

Juan Manue} ReyeS_PereZ Case Nurnber: 3:lS-mj-02537-NLS

 

 

 

 

 

 

 

 

 

 

Charle.
Defendam
REGISTRATION NO. 69820298 _
. MAY 3 0 2018
THE DEFENDANT:
Pl€ad€d guilty to COunt(S) 1 Of Complaint m .$t‘r§§l‘. H§~Péil$'§l §§"il§l..h.. n
BY DEPUTY

E was found guilty to count(s)
after a plea of not guilty
Accordingly, the defendant is adjudged guilty of such count(s), Which involve the following offense(s):

 

 

Title & Section Nature of Offense Count Number(s[
8:1325 ILLEGAL ENTRY (Misdemeanor) l

E The defendant has been found not guilty on count(s)
|:| Count(s) dismissed on the motion of the United States.

 

 

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of:
TIME SERVED

Assessment: $10 WAIVED
Fine: WAIVED

IT IS ORDERED that the defendant shall notify the United States Attomey for this district Within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attomey of any material change in the defendant's economic circumstances

Wednesday, May 30, 2018
Date of Imposition of Sentence

'HoNoRABLE NITA L. sToRMEs
UNITED sTATEs MAGISTRATE JUDGE

 

3118-mj-02537~NLS

 

